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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

 ROBERT (BOB) ROSS,                                §
 Plaintiff/Counterclaim Defendant,                 §
                                                   §
 v.                                                §
                                                   §     Civil Action No. 4:22-cv-343-Y
 ASSOCIATION OF PROFESSIONAL                       §     Consolidated with 4:22-cv-430-Y
 FLIGHT ATTENDANTS, et al.,                        §
 Defendants/Counterclaim Plaintiffs,               §     Judge Terry R. Means
                                                   §
 AND                                               §
                                                   §
 EUGENIO VARGAS,                                   §
 Plaintiff/Counterclaim Defendant,                 §
                                                   §
 v.                                                §
                                                   §
 ASSOCIATION OF PROFESSIONAL                       §
 FLIGHT ATTENDANTS, et al.,                        §
 Defendants/Counterclaim Plaintiffs.               §

                     APPENDIX TO APFA DEFENDANTS’ LIST OF
                    REASONABLE COSTS AND ATTORNEY’S FEES
               PURSUANT TO ORDER GRANTING MOTION FOR SANCTIONS

           Pursuant to Local Rule 7.1(i), the Association of Professional Flight Attendants

(“APFA”), its National President, Julie Hedrick, and National Treasurer, Erik Harris

(collectively, “the APFA Defendants”), hereby submit the following appendix to its List of

Reasonable Costs and Attorney’s Fees Pursuant to Order Granting Motion for Sanctions.

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       1       Declaration of Jeffrey A. Bartos                                             1-6
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    12     Bobby Goldstein Prod., Inc. v. Habeeb, 21-CV-01924, 2023 WL          43-49
           8790284 (N.D. Tex. Nov. 27, 2023)
    13     Silves H. v. Kijakazi, 22-CV-286, 2023 WL 9102228 (N.D. Tex.         50-53
           Dec. 18, 2023)



Date: March 22, 2024                     Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on March 22, 2024, a true and correct copy of the foregoing document was

served upon all persons who have requested notice and service of pleadings in this case via the

Court’s ECF system.

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                                                                       APPENDIX 1
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

    ROBERT (BOB) ROSS,                              §
    Plaintiff/Counterclaim Defendant,               §
                                                    §
    v.                                              §
                                                    §   Civil Action No. 4:22-cv-343-Y
    ASSOCIATION OF PROFESSIONAL                     §   (Consolidated with 4:22-CV-430-Y)
    FLIGHT ATTENDANTS, et al.,                      §
    Defendants/Counterclaim Plaintiffs,             §   Judge Terry R. Means
                                                    §
    AND                                             §   [Referred to United States Magistrate
                                                    §   Judge Jeffrey L. Cureton]
    EUGENIO VARGAS,                                 §
    Plaintiff/Counterclaim Defendant,               §
                                                    §
    v.                                              §
                                                    §
    ASSOCIATION OF PROFESSIONAL                     §
    FLIGHT ATTENDANTS, et al.,                      §
    Defendants/Counterclaim Plaintiffs.             §


                            DECLARATION OF JAMES D. SANFORD

             I make the following declaration under 28 U.S.C. § 1746, subject to the

   penalty for perjury:

             1.        My name is James (“Jim”) D. Sanford. I reside and work in Dallas,

   Dallas County, Texas. I am fully competent to make this declaration, have

   personal knowledge of the facts stated herein, and could and would testify to

   them if called up to do so.

             2.        I am a partner in the law firm of Gillespie Sanford LLP. I make

   this declaration in support of the APFA Defendants’ claim for fees and

   expenses, as ordered by the Court on March 1, 2024 (Dkt. 219).



   Declaration of James D. Sanford - Page 1 of 11




                                                                                       APPENDIX 29
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                                EDUCATION, EXPERTISE, AND QUALIFICATIONS

             3.        I primarily practice labor and employment law. Since 2005,

   I have largely represented individual employees and groups of employees in

   labor and employment matters. My practice focuses on minimum wage and

   overtime claims under the Fair Labor Standards Act (FLSA), discrimination

   claims under state and federal civil rights laws (e.g., Title VII, ADEA, ADA),

   family-medical leave and pregnancy-discrimination claims, sexual harassment

   complaints and workplace investigations, whistleblower and retaliation claims

   for people who speak up about unlawful working conditions, and claims arising

   out of employment contracts. I also represent and counsel unions, including

   unions and individual members in arbitrations, system boards of adjustment,

   trial boards, grievance proceedings, and litigation. My practice primarily

   focuses on litigation and most of it is in north Texas, although I have been co-

   counsel on several large FLSA collective actions in federal district courts in

   other federal circuits. I have been Board Certified in Labor and Employment

   Law by the Texas Board of Legal Specialization since December 2011.

             4.        I am member in good standing of the State Bar of Texas and

   its Labor and Employment and Litigation Sections. The State Bar of

   Texas licensed me in November 2005. In addition to the State Bar of Texas, I

   am admitted to practice in the United States Courts of Appeal for the Fifth and

   Ninth Circuits and district courts in the Eastern and Northern Districts of

   Texas. I am in good standing in each of the courts to which I am admitted. In




   Declaration of James D. Sanford - Page 2 of 11




                                                                                 APPENDIX 30
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   addition, I am a member of the Dallas Bar Association (DBA) and its Labor

   and Employment and Trial Skills sections. I serve on the DBA’s Labor &

   Employment Section Council as well. I am also a member of the State Bar of

   Texas’s Labor and Employment Law Section and its Litigation Section. In

   addition, I have been Board Certified in Labor and Employment Law by the

   Texas Board of Legal Specialization since December 2011 (renewed in 2016

   and 2021 for five-year periods). According to the websites for the State Bar of

   Texas1 and the Texas Board of Legal Specialization2, fewer than two-thirds of

   one percent of active Texas lawyers hold this certification. In addition, I

   became a Fellow of the Texas Bar Foundation in January 2022.

             5.        I am active in several labor and employment law

   associations. I am a member of the National Employment Lawyers

   Association (NELA) and its local affiliate, DFW-NELA. I am also a member of

   the Texas Employment Lawyers Association (TELA), a former member of its

   Board of Directors, and a current member of its Amicus Committee. I am active

   in each of these organizations and regularly attend their meetings,




   1 OUR MISSION, STATE BAR OF TEXAS (“With more than 100,000 active

   members ….)(available at:
   https://www.texasbar.com/Content/NavigationMenu/AboutUs/OurMission/def
   ault.htm (last visited on Mar. 20, 2024).
   2 As of March 2024, the Texas Board of Legal Specialization stated that 657

   Texas lawyers are board-certified in this specialty area. Labor and
   Employment Law, Texas Board of Legal Specialization (available at:
   https://www.tbls.org/specialtyarea/LB
   (last visited Mar. 20, 2024).


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                                                                                 APPENDIX 31
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   conferences, and annual conventions where I interact with the best plaintiffs-

   side employment lawyers in Texas and around the country and stay current on

   issues in the field.

             6.        I present at CLEs and author articles on employment law.

             From time to time, I am asked to speak or write on employment-law and

   litigation topics. Most recently I presented on settlement agreements in a

   presentation called “Settlement Agreements: The Emptiness of Forms” at the

   32d Annual TexasBarCLE Advanced Employment Law course in Dallas, Texas

   (Jan. 11-12, 2024).

             Earlier presentations include:

             §    “The Road Not Taken: Major and Minor Disputes Under the
                  RLA” at the International Conference of Pilot Unions
                  (Arlington, Texas, Oct. 11, 2023) with my partner, Joe
                  Gillespie.

             §    “Water into Wine: Summary Judgment Evidence into Trial
                  Evidence” at the TexasBarCLE Advanced Employment Law
                  course in Dallas, Texas (Jan. 12-13, 2023).

             §    “The RLA ‘Year’ in Review (or at least since we last met)” at
                  the International Conference of Pilot Unions (Arlington,
                  Texas, Oct. 11, 2022) with my partner Joe Gillespie.

             §    “Enviable Remedies and Rightful Places: Remedies in
                  Employment Cases” at the State Bar of Texas Labor &
                  Employment Law Section’s 32d Annual Labor and
                  Employment Law Institute program in San Antonio, Texas
                  (Aug. 26, 2022).

             §    “The Five Ws (and One H) of Workplace Discrimination and
                  Retaliation Law” at the TexasBarCLE Employment Law 101
                  course in Austin, Texas (April 20, 2022)(co-presented with
                  Andrew S. Golub of DOW GOLUB REMELS & GILBREATH).




   Declaration of James D. Sanford - Page 4 of 11




                                                                                  APPENDIX 32
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             §    “Basics of Discrimination and Retaliation” at the TexasBar
                  CLE Employment Law 101 course (virtual Jan. 13-15,
                  2021)(co-presented with C.B. Burns of KEMP SMITH).

             §    “The Road Not Taken: Major and Minor Disputes Under the
                  RLA” at the third annual International Conference of Pilot
                  Unions (Plano, Texas, September 30, 2019).

             §    “Corroborating Evidence: He-said, She-said… [and X, Y, and
                  Z said]” at the Dallas Bar Association Labor & Employment
                  Section (Dallas, Texas, August 19, 2019).

             §    “Corroborating Evidence: He-said, She-said… [and X, Y, and
                  Z said]” at the 26th Annual Labor and Employment Law
                  Conference hosted by The University of Texas School of Law
                  (UT Law CLE, Austin, Texas, May 9-10, 2019).

             7.        My peers have recognized my employment-law practice.

   Super Lawyers magazine rated me with the distinction of being a “Rising Star”

   from 2009 to 2012 and as a “Super Lawyer” from 2014 to 2021 in the

   Employment Litigation category. This publication includes a peer-review

   component in its selection process and selects no more than five percent of

   Texas lawyers.

             8.        I received an excellent legal education. I obtained a Bachelor

   of Arts in History and Economics from Emory University in Atlanta, Georgia.

   I then worked for the U.S. Department of Justice—Antitrust Division as a

   paralegal on merger-review and litigation teams. I am a 2005 graduate (with

   honors) of the University of Texas at Austin School of Law. During law school,

   I was a staff member of the TEXAS INTERNATIONAL LAW JOURNAL and

   participant in the Capital Punishment and Immigration Law clinical

   programs. I was also pleased to receive a summer fellowship as a UT



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                                                                                   APPENDIX 33
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   Democracy Fellow at the Congress in Lima, Peru (2003), and then as an intern

   in the Prosecutor’s Office at the International Criminal Tribunal for Rwanda

   in Arusha, Tanzania (2004).

             After law school, I continued my legal education through Continuing

   Legal Education and trial-advocacy course work. I am a graduate of the

   Keenan Trial Institute.

             9.        I have been a partner at law firms dedicated to

   representing employees and have experience running this type of

   practice. The stalwart Dallas labor and employment firm of GILLESPIE, ROZEN

   & WATSKY, P.C. (“GRW”) hired me out of law school in 2005, and I spent the

   first eight years of my career there, becoming a partner in the firm. In 2013,

   Joe Gillespie and I founded GILLESPIE SANFORD LLP (“GS LLP”). At various

   times during my time there, GRW had between 7 and 11 attorneys. GS LLP

   has been a four-person team (three lawyers and one team-member) since early

   2014 (with all lawyers Board Certified in Labor and Employment Law). I am

   familiar with the challenges of maintaining a practice dedicated to individual

   workers in employment matters and that skilled worker-side attorneys—

   especially those who represent low-wage employees on a purely contingency

   basis—are relatively rare.

             10.       I have litigated labor and employment cases in Texas federal and

   state courts and in the Fifth Circuit for the past 18-plus years. A sampling of

   the federal cases in which I have appeared as counsel of record include:




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             Federal Appellate Courts:              Southwest Airlines Pilots Association v.

   Southwest Airlines Co., No. 23-11065 (5th Cir.)(pending); Black v. SettlePou,

   P.C., 732 F.3d 492 (5th Cir. 2013); Miller v. Raytheon Co., 716 F.3d 138 (5th

   Cir. 2013); Roberts v. McAfee, Inc., 660 F.3d 1156 (9th Cir. 2011).

             Federal District Courts: Albrecht v. Hotel Reservation Service, Inc., No.

   3:21-cv-1123-L (N.D. Texas); Balabon v. CR Operating, LLC, d/b/a Canyon

   Ranch, et al., No. 4:21-cv-252 (D. Arizona); Black v. SettlePou, P.C., No. 3:10-

   cv-1418 (N.D. Texas); Davis v. SMU, No. 3:13-cv-01419 (N.D. Texas); Doornbos,

   et al. v. Pilot Travel Centers, LLC, et al., No. 3:05-cv-428 (E.D. Tennessee);

   Dunn v. Southwest Airlines Co., 3:21-cv-01393 (N.D. Texas); Guzman, et al. v.

   GS Fire Protection, LLC, et al., No. 4:19-cv-00214 (E.D. Texas); Johnson v. City

   of Dallas, No. 3:07-CV-2132-N (N.D. Texas); Kaufman v. Metromedia

   Steakhouses Company, LP, et al., No. 3:06-cv-2192-G; Lakhani v. Horizon

   Travel, LLC, et al., 3:14-cv-01192-BH (N.D. Texas); Matlock v. Conduent

   Commercial Solutions, LLC, et al., 4:21-CV-00476 (E.D. Texas); McNutt v.

   Dallas Baptist Univ., No. 3:22-cv-678 (N.D. Texas); Miller v. Raytheon Co., No.

   3:09-cv-00440-O (N.D. Texas); Oyler v. Texas A&M Univ.-Commerce, No. 3:13-

   cv-03139-P (N.D. Texas); Sidhu v. Methodist Hosp. of Dallas d/b/a Methodist

   Health System, et al., No. 3:24-cv-290-X (N.D. Texas)(pending determination);

   Southwest Airlines Pilots Association v. Southwest Airlines Co., No. 3:21-cv-

   02608 (N.D. Texas); Tapp v. Mead Johnson & Co. d/b/a Mead Johnson

   Nutritionals, et al., No. 3:06-CV-1580-M (N.D. Texas); Van Elder v.




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   Amalgamated Transit Union, Local #1338, et al., No. 3:13-CV-2909-BN (N.D.

   Texas); Vega, et al. v. Contract Cleaning Maintenance, Inc., et al., No. 03-C-

   9130 (N.D. Illinois); Vogt, et al. v. Texas Instruments, Inc., No. 3:05-CV-2244-L

   (N.D. Texas).

             I am familiar with the costs and tasks necessary to prosecute labor

   employment litigation. I am also familiar with the amount of time and costs

   needed to investigate employment claims, prepare them for filing, pursue them

   through the administrative process before government agencies, and then

   through litigation and appeal.

             11.       I have counseled dozens (perhaps hundreds) of individuals

   in employment matters. In addition to civil litigation, a significant part of

   my practice entails counseling individual-employee clients and union clients

   on their workplace legal issues. This includes advice on how various labor and

   employment laws apply to their given circumstances, developing and executing

   strategy for negotiating employment contracts and separation agreements,

   and developing and executing strategy for winding down and then separating

   employment.


                                      THE ROSS AND VARGAS MATTERS

             12.       The Association of Professional Flight Attendants retained my

   firm in May 2023 to be local counsel and provide other support in this matter.

   Since joining the team, among other things, I have assisted with preparing and

   filing pleadings, including the sanctions motion at issue here (Dkt. 205).



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                             REASONABLE HOURLY RATE AND CUSTOMARY FEE

             13.       I am familiar with local hourly rates in the Northern District of

   Texas. Based on my training and experience, I am familiar with the local legal

   community standards of skill and practice required in handling labor and

   employment matters. Moreover, I am familiar with the legal standards for

   determining attorney’s fees under federal law. E.g., Perdue v. Kenny A., 559

   U.S. 542 (2010); Black v. SettlePou, P.C., 732 F.3d 492 (5th Cir.

   2013)(discussing Johnson v. Ga. Highway Exp., Inc., 488 F.2d 714, 717-19 (5th

   Cir. 1974)).

             14.       The most recent awarded rate for my work by a federal court was

   $450/hour in a default judgment in an FLSA overtime case. See Judgment,

   Guzman, et al. v. GS Fire Protection, LLC, et al. (No. 4:19-cv-00214)(E.D. Tex.

   Jan. 8, 2020)(Mazzant, J.)[Dkt. 12]. This was a case where the defendants

   failed to answer, where there were no other legal substantive filings between

   the complaint and the motion for default judgment, and where I did only 45

   hours of legal work. Adjusting for inflation from the year that the last court-

   awarded rate (January 2020) and using the Consumer Price Index as compiled

   by the United States Bureau for Labor Statistics, produces an adjusted rate

   over $540/hour.3 Since that January 2020 award, I have continued to improve

   my skills and knowledge of trial work. I graduated from the Keenan Trial


   3 “CPI Inflation Calculator, U.S. Bureau of Labor Statistics (available at:
   available at: https://www.bls.gov/data/inflation_calculator.htm)(last visited
   Mar. 20, 2024).


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   Institute, was recertified by the Texas Board of Legal Specialization, and

   obtained a plaintiff’s verdict in the district court of Fort Bend County, Texas,

   in September 2021. See Whitney v. CVR Energy, Inc., Cause No. 18-DCV-

   254380 (400th Judicial District Court, Fort Bend County).

             15.       I am familiar with hourly rates awarded attorneys in labor and

   employment cases in north Texas, including the Northern and Eastern

   Districts of Texas (as well as in other parts of Texas) in recent years. I have

   reviewed numerous court awards for fees on sanctions motions and on fee-

   shifting claims. Based on that review and my understanding of the legal

   market for labor and employment work, it is my opinion that the rates sought

   for my time ($350/hour) and for lead counsel Jeff Bartos’s time ($395/hour) are

   well within the range—in fact are quite low—for attorneys with our level of

   experience, skill, and knowledge for federal litigation. Indeed, the Honorable

   Ed Kinkeade found that a higher rate ($375/hr) was reasonable for my time

   over a decade ago. See Black v. SettlePou P.C., No. 3:10-CV-1418-K (Doc. 133,

   at 8)(N.D. Texas Aug. 24, 2012).

                                 TIME SPENT ON THE MOTION FOR SANCTIONS

             16.       I keep contemporaneous records of the legal work that I perform

   for the APFA defendants. I enter this information into my firm’s timekeeping

   software at or about the time the work is performed. Attachment A to this

   declaration is a true and correct copy of time entries from our timekeeping

   software filtered to show only the work performed on the sanctions motion. My



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                                                                                    APPENDIX 38
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   firm billed these amounts to APFA on our regular billing cycle. APFA has paid

   for this time under our engagement agreement. These records show that I

   spent almost five hours supporting the motion for sanctions (Dkt. 205). They

   show also that I “no charged” (“n/c”) much of this time in exercising billing

   judgment. My firm billed the APFA for 2.85 hours of my time on this motion.

   See El Apple I, Ltd. v. Olivas, 370 S.W.3d 757, 762 (Tex. 2012)(quoting Hensley

   v. Eckerhart, 461 U.S. 424, 434 (1983)(“In the private sector, ‘billing judgment’

   is an important component of fee setting.”)).

                                                     *   *   *

             I declare under the penalty of perjury under the laws of the United

   States of America that the foregoing is true and correct.


                    March 21 2024
   Executed: ________________,                               ________________________
                                                             James D. Sanford




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                 ATTACHMENT A




                                                                       APPENDIX 41
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                     Jim Sanford activities: the APFA Defendants’
                           Motion for Sanctions (Dkt. 205)

 Date      Hours Activity category     UTBMS task code   Description                          User
 02/13/2024 1.00 A103 Draft/revise     L210 Pleadings    Review and edit draft Motion for     Jim
                                                         Sanctions and respond with           Sanford
                                                         comments (1.5 n/c .5).

 02/16/2024 1.35 A103 Draft/revise     L210 Pleadings    Tel con w/Jeff B. re: finalizing brief Jim
                                                         (.1). Draft proposed order re:         Sanford
                                                         Motion for Sanctions (.5). Review,
                                                         revise, finalize and file Motion for
                                                         Sanctions, Appendix, and Proposed
                                                         Order (1.25 - n/c .5). Tel con to
                                                         Clerk's office and review
                                                         administrative procedures re:
                                                         process for manually filing video (.5
                                                         n/c).
 02/19/2024 0.5    A103 Draft/revise   L210 Pleadings    Draft, finalize, and file notice of    Jim
                                                         manual filing. Draft and send letter Sanford
                                                         to clerk re: manual filing of Vargas
                                                         video depo. Draft, finalize, and
                                                         send court and opposing counsel
                                                         copies. (2 n/c 1.5).


 Total      2.85           Lodestar    = 2.85 * $350 =
                                       $997.50




                                                                                                 APPENDIX 42
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                           Tab
                            12




                                                                       APPENDIX 43
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                                                                damages. See Verdict (ECF No. 109). Thereafter, the District
                     2023 WL 8790284                            Court granted BGP's motion for entry of judgment—holding,
     Only the Westlaw citation is currently available.          among other things, that Defendants ATVD and Habeeb “are
 United States District Court, N.D. Texas, Dallas Division.     each independently liable for the statutory damages award,
                                                                pre-judgment interest, post-judgment interest, full costs, and
                                                                reasonable attorney's fees.” J. (ECF No. 125). The Court
            BOBBY GOLDSTEIN
                                                                directed BGP to file a motion for attorney's fees, attaching an
       PRODUCTIONS, INC., Plaintiff,                            affidavit explaining the reasonable nature of the fees sought,
                       v.                                       in accordance with Federal Rule of Civil Procedure 54(d)(2).
   Thomas L. HABEEB and ATVD, LLC d/b/a                         Id. BGP complied and filed its Motion for Attorney's Fees
                                                                (ECF No. 129) under Rule 54 and 17 U.S.C. § 505, seeking
  American Television Distribution, Defendants.                 an award in the amount of $961,225.14. After resolving some
                                                                bankruptcy-related delays, Defendants filed a response (ECF
                 Case No. 3:21-cv-01924-G
                                                                No. 140). BGP filed a reply (ECF No. 143). The issues are
                             |
                                                                fully-briefed, and the Motion is ripe for determination.
                 Signed November 27, 2023
                                                                For the following reasons, the Court should GRANT
Attorneys and Law Firms
                                                                BGP's motion—in part—and order Defendants to pay BGP
Jeffrey R. Bragalone, Daniel Fletcher Olejko, Mark Douglass,    $865,101.94 in attorney's fees.
Paul Campbell Stevenson, Bragalone Olejko Saad PC, Dallas,
TX, for Plaintiff.
                                                                I.
Jay Kurtis Gray, Andrew A. Bergman, BergmanGray, LLP,
Dallas, TX, Joyce W. Lindauer, Joyce W. Lindauer Attorney       Section 505 of the Copyright Act provides that a district court
PLLC, Dallas, TX, for Defendant Thomas L. Habeeb.               “may ... award a reasonable attorney's fee to the prevailing
                                                                party.” 17 U.S.C. § 505. And while “recovery of attorney's
Jay Kurtis Gray, Andrew A. Bergman, BergmanGray, LLP,
                                                                fees is not automatic” in the Fifth Circuit, “attorney's fees to
Dallas, TX, for Defendant ATVD LLC.
                                                                the prevailing party in a copyright action is the rule rather
                                                                than the exception and should be awarded routinely.” Virgin
                                                                Records Am., Inc. v. Thompson, 512 F.3d 724, 726 (5th Cir.
FINDINGS,      CONCLUSIONS,     AND
                                                                2008). Relevant factors that inform the court's discretion on
RECOMMENDATION OF THE UNITED STATES
                                                                whether to award fees include: “frivolousness, motivation,
MAGISTRATE JUDGE
                                                                objective unreasonableness (both in the factual and in the
REBECCA    RUTHERFORD,                UNITED        STATES      legal components of the case) and the need in particular
MAGISTRATE JUDGE                                                circumstances to advance considerations of compensation
                                                                and deterrence.” Bell v. Eagle Mountain Saginaw Indep. Sch.
 *1 This lawsuit arises out of Defendants Thomas L. Habeeb      Dist., 27 F.4th 313, 326 (5th Cir. 2022) (citing Fogerty v.
and ATVD, LLC d/b/a American Television Distribution's          Fantasy, Inc., 510 U.S. 517, 539 n.19 (1994)). “[A] finding of
(ATVD) use of Plaintiff Bobby Goldstein Productions, Inc.'s     willful infringement is not necessary to support an award of
(BGP) copyrighted material from 26 episodes of Cheaters         attorneys' fees ....” EMI April Music Inc. v. Jet Rumeurs, Inc.,
Uncensored, a reality television show featuring couples with    632 F. Supp. 2d 619, 626 (N.D. Tex. 2008).
one partner who is committing adultery, or “cheating,” on the
other. See generally Compl. (ECF No. 1); Jt. Stip. (ECF No.     Here, the District Court previously determined that BGP
89).                                                            is entitled to reasonable attorney's fees under § 505 as the
                                                                prevailing party. See Mem. Op & Order 36 (ECF No. 124)
Following a three-day trial in October 2022, a jury found       (“Because BGP is the prevailing party and the defendants do
(i) ATVD directly infringed BGP's copyrighted material; (ii)    not dispute that the court should award BGP reasonable costs
none of ATVD's defenses to direct copyright infringement        and attorney's fees ... BGP is entitled to both reasonable costs
applied; and (iii) BGP was entitled to $390,000 in statutory    and attorney's fees.”). This determination is supported by



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                                                                                                                    APPENDIX 44
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consideration of the relevant factors which demonstrate that       of hours spent on the case by an attorney by an appropriate
BGP's lawsuit was not frivolous or objectively unreasonable,       hourly rate. See Smith & Fuller, P.A. v. Cooper Tire &
and BGP acted properly to protect its copyrighted material         Rubber Co., 685 F.3d 486, 490 (5th Cir. 2012). There is a
after it discovered infringement of dozens of episodes of          strong presumption that the lodestar amount is reasonable. See
Cheaters Uncensored on the internet. By contrast, Defendants       Perdue v. Kenny A., 559 U.S. 542, 552 (2010). Because the
unnecessarily prolonged the litigation by advancing frivolous      lodestar is presumed reasonable, it should be modified only
legal arguments and factual contentions and employing              in exceptional circumstances. See Watkins v. Fordice, 7 F.3d
tactics that significantly increased the work needed to litigate   453, 457 (5th Cir. 1993).
this matter (and the attorney's fees expended by BGP's
counsel) in an attempt to avoid or delay responsibility for
their infringement. For example, Defendants filed a motion
                                                                   A.
to compel arbitration purportedly based on a settlement
agreement between Robert N. Goldstein and Defendant                First, the Court considers whether the hourly rates charged
Habeeb. See Mot. (ECF No. 21). However, the Court denied           by BGP's counsel are reasonable. Rates are reasonable when
the motion because Defendants failed to demonstrate the            they “are in line with those prevailing in the community for
arbitration clause was enforceable against BGP—a non-              similar services by lawyers of reasonably comparable skill,
signatory to the settlement agreement—and that, even if it         experience and reputation.” Blum v. Stenson, 465 U.S. 886,
was enforceable against BGP, the parties' dispute did not          895 n.11 (1984). It is well-established that the Court may use
fall within the scope of the agreement to arbitrate. Mem.          its own expertise and judgment to independently assess the
Op & Order 8-21 (ECF No. 40). Defendants also failed               hourly rates charged for attorney's fees. SortiumUSA, LLC v.
to cooperate in discovery; they initially denied uploading         Hunger, 2015 WL 179025, at *5 (N.D. Tex. Jan. 14, 2015)
any of the infringing videos to ATVD's internet accounts,          (Lynn, J.) (citing Davis v. Bd. of Sch. Comm'rs of Mobile
denied knowing about one of ATVD's accounts, failed to             Cnty., 526 F.2d 865, 868 (5th Cir. 1976); Vanliner Ins. v.
preserve copies of all the infringing videos uploaded to           DerMargosian, 2014 WL 1632181, at *2 (N.D. Tex. Apr. 24,
ATVD's internet accounts, and claimed that they could not          2014) (noting that the Court is an expert on the reasonableness
get access to key information about the uploaded videos.           of attorney's fees)).
This conduct necessitated BGP's filing a motion to compel
discovery, see Mot. (ECF No. 27), which the Court granted          Here, BGP was proficiently represented by attorneys from the
in its entirety following a hearing, see Order (ECF No. 43).       firm of Bragalone Olejko Saad PC, including name partners
And after BGP obtained documents and testimony proving             Jeffrey R. Bragalone and Daniel F. Olejko. Bragalone is a
that persons working for ATVD created the internet accounts        member of the Texas State Bar and is licensed to practice
at issue and uploaded the infringing videos, Defendants            in the United States District Court for the Northern District
conceded that they created those accounts and uploaded the         of Texas. App., Bragalone Aff. ¶ 16 (ECF No. 130). He
videos. Ultimately, Defendants stipulated that BGP had met         has been practicing law for 35 years, with an emphasis on
its burden of proof with respect to the underlying elements        patent and other intellectual property litigation. Id. Olejko is
required for showing that ATVD directly infringed BGP's            a registered patent attorney and has been practicing complex
copyrights in 26 Cheaters Uncensored episodes by posting           commercial litigation with an emphasis on patent litigation
videos to its internet accounts. Jt. Stip. 1 (ECF No. 89).         and appellate practice for 15 years. Id. ¶ 17. The two partners
Given these circumstances, awarding a reasonable attorney's        were assisted by several associate attorneys and paralegals,
fee to BGP would advance considerations of compensation            each with an appropriate level of experience to handle the
and deterrence.                                                    issues in this case. See id. ¶¶ 18-21. Bragalone charged an
                                                                   hourly rate of $787.50 per hour, and Olejko charged $618.75
                                                                   per hour. Associates charged hourly rates between $337.50
II.                                                                and $412.50, and the one paralegal who billed in this case
                                                                   charged $243.75 per hour. Id. at 116-17. Based on the Court's
 *2 The Court utilizes the “lodestar” method in calculating        knowledge of rates charged for legal services by Dallas
the attorney's fee award. See Heidtman v. Cnty. of El Paso,        attorneys with the level of skill, competence, and ability of
171 F.3d 1038, 1043 (5th Cir. 1999) (citations omitted). The       BGP's counsel, and its experience in setting attorney's fees in
lodestar is calculated by multiplying the reasonable number



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                                                                                                                       APPENDIX 45
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other cases, the Court determines that the hourly rates charged    BGP points out in its Reply (ECF No. 143), “Defendants do
by BGP's counsel are reasonable.                                   not address the 2021 AIPLA Report or the various cases from
                                                                   this District that have approved rates similar to those charged
To support the claimed hourly rates, BGP cites to the              by BGP's counsel. Instead, Defendants cite outdated statistics
American Intellectual Property Law Association's 2021              from the Texas State Bar from 2015 and 2019, including old
Report of the Economic Survey, which notes average hourly          statistics related to the median hourly rate for all attorneys in
rates for equity partners in Texas ranging from $339 to $900       the Dallas-Fort Worth-Arlington metropolitan area.” Reply 7.
and average hourly rates for partner-track attorneys ranging       But reliance on these general statistics is of limited relevance
from $354 to $593. Mot. 8 (ECF No. 129). BGP also cites            to the Court's consideration of what constitutes a reasonable
several cases decided in the Northern District, including          attorney's fee in the specialty area of copyright infringement.
Thermotek, Inc. v. Orthoflex, Inc., where hourly rates up
to $650 for attorneys and up to $175 for paralegals were
approved, and Hoiffman v. L & M Arts, where the hourly
                                                                   B.
rate of $460 was found to be reasonable and other hourly
rates were adjusted to between $601 and $810. Id. (citing          Next, the Court considers the reasonableness of the number
Thermotek, Inc. v. Orthoflex, Inc., 2016 WL 6330429 (N.D.          of hours billed. A party seeking attorney's fees bears the
Tex. Oct. 27, 2016) and Hoffman v. L & M Arts, 2015 WL             burden of establishing that the number of hours expended
3999171, at *2–3 (N.D. Tex. July 1, 2015)).                        were reasonable with adequately recorded time records as
                                                                   evidentiary support. See Watkins v. Fordice, 7 F.3d 453, 457
 *3 Ultimately, the Court finds BGP's reliance on the              (5th Cir. 1993). The Court uses this time as the benchmark,
AIPLA survey and the Northern District cases persuasive.           but should exclude any time that is excessive, duplicative,
Bragalone's hourly rate—$787.50—and Olejko's hourly rate           unnecessary, or not adequately documented. See id.
—$618.75—fall within the range of average rates indicated
in the AIPLA's survey. See Ford Global Techs., LLC v.              Here, BGP's counsel billed a total of 1,778.9 hours. This
New World Int'l, Inc., 2019 WL 1531759, at *2 (N.D. Tex.           includes: 1) 365.2 hours billed by Bragalone; 2) 712.5
Apr. 9, 2019) (relying on AIPLA statistics in reviewing            hours billed by Olejko; 3) 385.8 hours collectively billed by
rates charged by attorneys in patent infringement action).         associates; and 4) 199.2 hours billed by a paralegal. See App.,
And while the rates fall within the high end of the survey's       Bragalone Decl. 116-17 (ECF No. 130). Defendants generally
$339 to $900 range, BGP's counsel provides a satisfactory          object that the number of hours are excessive, duplicative, and
justification; this litigation was more complicated than the       inadequately documented due to block billing.
typical copyright infringement case, because it involved
a complex and uncertain issue concerning the application           The Court overrules any general objection to excessive
of the Texas Tax Code. The Court acknowledged this                 hours billed. As discussed above, BGP's counsel incurred
case's distinctively challenging nature several times in its's     significant time due to Defendants' litigation tactics, such as
Memorandum Opinion and Order granting BGP's motion                 filing the unsuccessful motion to compel and unreasonably
for entry of judgment. See, e.g., Mem. Op. & Order 9-10            resisting discovery before ultimately stipulating that BGP
(ECF No. 124) (“It is unclear, however, whether section            had met its burden of proof with respect to the underlying
171.255 applies to judgment-debts based exclusively on non-        elements required for showing that ATVD directly infringed
negligent torts, as ‘[o]nly a few courts have addressed whether    BGP's copyrights.
section 171.255 applies to contractual strangers with only
tort claims being asserted[.]’ ... Furthermore, the courts that    Defendants specifically object to BGP billing 13.7 hours to
have addressed the issue do not agree.”); Mem. Op. & Order         draft a discovery deficiency letter in connection to a motion
10-11 (ECF No. 124) (characterizing the issues in the case as      to compel. Resp. 4 (ECF No. 140). Defendants contend 13.7
“unique[ ],” in part because the question of “[w]hether a strict   hours is an excessive and unnecessary amount of time to draft
liability tort is a ‘debt’ under section 171.255 is an issue of    a letter that was only “two and a half pages.” Id. BGP responds
first impression”).                                                that its counsel did not spend the entirety of 13.7 hours to
                                                                   simply write the letter. Reply 3 (ECF No. 143). Instead,
Additionally, Defendants do not present persuasive                 the 13.7 billed hours include time spent communicating
arguments that the charged hourly rates are unreasonable. As       with BGP about the relevant issues and devising a strategy,



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                                                                                                                        APPENDIX 46
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researching the legal issues associated with the motion to
compel, and reviewing prior discovery relevant to the motion.      Finally, Defendants object to one specific billing entry, from
Id. at 4-5. BGP's contention is supported by the billing           October 25, 2022, which records 19.8 hours connected to the
records it provides. In the entries addressing time spent on       following description:
the deficiency letter, BGP specifically itemizes the necessary
tasks completed before the responsible associate could start to      Meeting with J. Bragalone and M. Douglass regarding
write the “two and half page” letter. See App. 28-30 (ECF No.        Habeeb cross examination outline; prepare for trial;
130). Based on these records and the Court's own expertise           attend first day of trial; research ATVD website on
about the time required to draft an adequately researched            Wayback machine and obtain printouts for use in
and persuasive deficiency letter, the Court rejects Defendants'      Habeeb cross-examination; revise B. Goldstein direct
objection to these 13.7 hours.                                       examination outline, including adding questions about
                                                                     request for accounting, cease and desist letter, request for
 *4 Defendants specifically object to BGP billing 72 hours           information regarding downloads, information provided
for “legal research for expert report.” Resp. 4-5 (ECF No.           by Defendants in response to request, PX-13 video,
140). Defendants contend that 72 hours is excessive and              downloads from YouTube and streaming platforms,
unnecessary because Defendants did not challenge Plaintiff's         reasons for downloading videos from YouTube, evidence
expert report. BGP responds that while the litigation team           of downloads from YouTube, reasons for caring if
spent 72 hours working on the expert report, it ultimately           others download videos, artistic control of content on
wrote off 41.2 of those hours as “no charge.” Reply 3 (ECF           YouTube and Dailymotion, questions about not picking
No. 143); see also App. 13-20 (ECF No. 130). Additionally,           up the phone, questions about response to call, statutory
BGP argues that the fact that Defendants did not challenge           damages, questions about damages from first copyright
the expert report does not render the time spent on the report       case, clarification questions about prior day's testimony;
unnecessary or excessive. On the contrary, it indicates that         correspondence with B. Goldstein regarding updates to
the hours were time well spent in ensuring the report was            direct examination outline; review and reduce M. Hays
immune from valid evidentiary objections. Again, BGP's               deposition clip and correspondence with A. Greenberg
records support BGP's contentions. The billing records show          regarding same; correspondence with B. Zuniga and team
the time entries Defendants take issue with all occurred prior       regarding juror questionnaires; correspondence with P.
to when the report was finalized and served. See App. 13-20          Stevenson and M. Douglass regarding edits from M.
(ECF No. 130). BGP spent time on the report to create the best       Einhorn to his presentation slides.
report possible, rather than answering objections afterwards.      App. 103 (ECF No. 130).
The Court therefore overrules Defendants' objection to the 72
hours.                                                             The term “block billing” refers to the disfavored “time-
                                                                   keeping method by which each lawyer and legal assistant
Defendants specifically object to the time billed during trial.    enters the total daily time spent working on a case, rather
Defendants contend that the hours billed by associates during      than itemizing the time expended on specific tasks.” Fralick
trial are excessive and unnecessary, since only Bragalone          v. Plumbers & Pipefitters Nat'l Pension Fund, 2011 WL
and Olejko “actually participated in the trial.” Resp. 5 (ECF      487754, at *4 (N.D.Tex. Feb.11, 2011) (Fitzwater, C.J.)
No. 140). Defendants' objection implies that only those            (citation omitted). “Block billing is disfavored because it
attorneys speaking directly to the judge or jury during a          prevents the court from accurately determining the time spent
trial can be considered to be participating in a way that          on any particular task, thus impairing the court's evaluation
deserves compensation. But review of the billing records           of whether the hours were reasonably expended.” Wherley
proves otherwise; the associates performed necessary behind-       v. Schellsmidt, 2014 WL 3513028, at *4 (N.D. Tex. July 16,
the-scenes work, such as reviewing juror questionnaires,           2014). The Court agrees with Defendants that this entry is
drafting presentation slides for use during expert testimony       an example of block billing.1 And the Court's own review
and closing argument, and reviewing the jury charge.               of the billing records uncovered a few more entries utilizing
Accordingly, and given that the complexity of the case             block billing, particularly as BGP accounted for their work
warrants the assistance of associate attorneys during trial, the   during trial. In these entries, BGP combines long descriptions
Court overrules Defendants' objection to the associates' billed    of multiple tasks all attributed to one relatively substantial
hours during trial.                                                period of time. See App. 103-05 (ECF No. 130) (including



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                                                                                                                      APPENDIX 47
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block-billed entries for 16.80 hours, 19.80 hours, 18.80 hours,        both Olejko and Bragalone on 05/07/2021, 05/10/2021, and
and 18.40 hours).                                                      06/02/2021 charging for review of the same email).

1      Defendants do not point the Court to any other specific         On balance, BGP's billing records are consistent with what
       entry in which BGP utilized block billing. Rather,              can reasonably be expected, presenting “detailed time records
       Defendants contend that the October 25 entry is “just           of the hours expended by each lawyer indicating the nature
       one example of the many bulk descriptions attributable to       of the particular work done by each.” Thermotek, 2016
       bulk time.” But it should be noted that “[i]f a party does      WL 6330429, at *9. At the same time, as described above,
       not object to particular billing entries as inadequately        the records include some entries that should be excluded
       documented, the court is not obliged sua sponte to sift         for being duplicative or vague. Accordingly, an overall
       through fee records searching for vague entries or block-       percentage reduction to the requested award amount—but a
       billing.” Wherley 2014 WL 3513028, at *4 n. 6; see also         relatively low percentage reduction—is warranted. See, e.g.,
       La. Power & Light Co. v. Kellstrom, 50 F.3d 319, 325
                                                                       Paris v. Dallas Airmotive, Inc., 2004 WL 2100227, at *9–11
       (5th Cir. 1995) (holding that district court erred in failing
                                                                       (N.D.Tex. Sept.21, 2004) (Lindsay, J.) (applying percentage
       to conduct full analysis of billing records “[a]s to the
                                                                       reduction because of block billing); Thermotek, Inc., 2016
       specific items of which [opposing party] complains”).
                                                                       WL 6330429, at *11 (applying a threshold reduction of
 *5 However, the Court finds that when looking at the                  10% to account for block billing and for entries that “are
billing records as a whole, BGP's counsel does not utilize             duplicative, excessive, or vaguely recorded.”).
block billing for every entry. Rather, most of the entries are
itemized, specific, and even when associated with a long list          Here, to account for entries that constitute block billing, vague
of multiple tasks, for relatively short periods of time. See           entries, and duplicative entries, the Court should apply a 10%
Thermotek, Inc. v. Orthoflex, Inc., 2016 WL 6330429, at *10            reduction to the lodestar figure. See Barrow, at *5 (“The
(N.D. Tex. Oct. 27, 2016) (“Entries between four to six hours          reduction [to address block billing] usually ranges between
are frequently substantiated with descriptions of the different        10% to 30%.”); Bramlett v. Med. Protective Co. of Fort
types of work performed during that period.”).                         Wayne, Ind., 2010 WL 3294248, at *3 (N.D. Tex. Aug. 20,
                                                                       2010) (“[M]any courts reviewing block-billed time entries
In addition to block billing, the Court finds that BGP's               have performed a percentage reduction either in the number of
billing records include some duplicative and vague entries             hours or in the lodestar figure, typically ranging from 10% to
warranting reduction. Vague entries are “not illuminating as           30%.”); Franciscan All., Inc. v. Becerra, 2023 WL 4462049,
to the subject matter” or “vague as to precisely what was              at *6 (N.D. Tex. July 11, 2023) (O'Connor, J.) (“Upon review
done.” Barrow v. Greenville Indep. Sch. Dist., 2005 WL                 of the entries deemed to be block billed by Defendants, the
6789456, at *11 (N.D. Tex. Dec. 20, 2005), aff'd, 2007 WL              Court finds that the entries in question do include examples of
3085028 (5th Cir. Oct. 23, 2007) (citation omitted). Examples          block billing. Therefore, the Court shall apply a five percent
such as: “revise memorandum,” “review pleadings,” “review              reduction in the total lodestar figure to account for the block
documents,” and “correspondence” are sufficiently vague that           billing.”). A greater reduction is not warranted because BGP
a court could accept or reject them in a fee application.              already exercised billing discretion in writing off some of its
SCA Promotions, Inc. v. Yahoo! Inc., 2016 WL 8223206, at               time.
*11 (N.D. Tex. Nov. 21, 2016), report and recommendation
adopted, 2017 WL 514545 (N.D. Tex. Feb. 8, 2017), aff'd,                *6 Thus, the Court calculates the lodestar figure in this case
2017 WL 11689639 (5th Cir. Nov. 7, 2017). Some entries                 to be $865,101.94. This figure represents a 10% reduction
billed by BGP's counsel are vague and warrant exclusion.               from the figure calculated by multiplying the number of hours
See, e.g., App., Bragalone Decl. (ECF No. 130) (entry on               billed by BGP's attorneys by the reasonable hourly rate of
02/23/2021 billing for “Correspondence from client regarding
                                                                       each of BGP's attorneys.2
emails related to case,” entry for 08/02/2021 billing for
“Review complaint for filing,” entry on 08/17/21 for “Email
                                                                       2       The following table shows the fee total prior to the 10%
with D. Olejko regarding filing complaint.”). The billing
records also include some duplicative charges. See, e.g.,                      reduction:
                                                                                          Hourly    Number of      Hourly Rate ×
Id. (entries by both Olejko and Bragalone on 09/21/2022
                                                                                          Rate      Hours          Number of Hours
charging for correspondence and review and entries by                           Bragalone$787.50 365.2             $287,595.0



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                                                                                                                              APPENDIX 48
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         Olejko $618.75       712.5           $440,859.4                      the results obtained; (9) the experience, reputation, and
         Associate$375        69.1            $25,912.5                       ability of counsel; (10) the desirability of the case; (11)
         Associate$375        142.7           $53,512.5                       the duration and nature of the professional relationship
         Associate$375        165.4           $62,025.0                       with the client; and (12) awards in similar cases. See
         Associate$337.50     116.2           $39,217.5                       Johnson, 448 F.2d at 717-19.
         Associate$412.50     8.6             $3,547.5
         Paralegal$243.75     199.2           $48,555.0
                              Total           $961,224.38             III.

                                                                      The Court should GRANT in part Plaintiff BGP's Motion for
C.                                                                    Attorney's Fees (ECF No. 129) and order Defendants to pay
                                                                      BGP reasonable attorney's fees in the amount of $865,101.94.
Although there is a strong presumption that the asserted
lodestar figure is reasonable, the Court must consider whether
it should be adjusted upward or downward based on the
Johnson Factors.3 See La. Power & Light Co., 50 F.3d at               INSTRUCTIONS FOR SERVICE AND NOTICE OF
324, 329; Johnson v. Ga. Highway Express, Inc., 488 F.2d              RIGHT TO APPEAL/OBJECT
714, 717-19 (5th Cir. 1974). Because the lodestar is presumed
                                                                      A copy of these findings, conclusions, and recommendation
to be reasonable, it should be modified only in exceptional
                                                                      (FCR) will be served on all parties in the manner provided by
cases. See Watkins, 7 F.3d at 457. Furthermore, the lodestar
                                                                      law. Any party who objects to any part of this FCR must file
amount may not be adjusted due to a Johnson factor that was
                                                                      specific written objections within 14 days after being served
already considered during the initial calculation. See Saizan
                                                                      with a copy. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b).
v. Delta Concrete Prods. Co., Inc., 448 F.3d 795, 800 (5th
                                                                      To be specific, an objection must identify the specific finding
Cir. 2006). Here, the Court finds no adjustment to the lodestar
                                                                      or recommendation to which objection is made, state the basis
figure is necessary. The Court considered those factors that
                                                                      for the objection, and specify the place in the FCR where
might warrant a downward adjustment in the Court's analysis
                                                                      the disputed determination is found. An objection that merely
for calculating the lodestar figure. For example, the Court
                                                                      incorporates by reference or refers to the briefing before the
considered the first three factors—(1) the time and labor
                                                                      magistrate judge is not specific. Failure to file specific written
required; (2) the novelty and difficulty of the legal issues; and
                                                                      objections will bar the aggrieved party from appealing the
(3) the skill required to properly perform the legal service
                                                                      factual findings and legal conclusions of the magistrate judge
—when determining the reasonableness of the hourly rates
                                                                      that are accepted or adopted by the district court, except
charged.
                                                                      upon grounds of plain error. See Douglass v. United Services
                                                                      Automobile Ass'n, 79 F.3d 1415, 1417 (5th Cir. 1996).
3       The Johnson factors are: (1) the time and labor required;
        (2) the novelty and difficulty of the legal issues; (3) the
        skill required to properly perform the legal service; (4)     All Citations
        the preclusion of other employment; (5) the customary
        fee; (6) whether the fee is fixed or contingent; (7) the      Slip Copy, 2023 WL 8790284
        time limitations imposed; (8) the amount involved and


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                           Tab
                            13




                                                                       APPENDIX 50
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                                                                 Plaintiff disabled and awarded past due benefits, retroactive
                     2023 WL 9102228                             to November 2018, totaling $143,060.90. Doc. 26-2 at 5.
     Only the Westlaw citation is currently available.
 United States District Court, N.D. Texas, Dallas Division.      Consistent with counsel's contingency agreement with
                                                                 Plaintiff, the Social Security Administration notified Plaintiff
                                                                 that it had withheld $35,765.23 from the awarded past due
              SILVES H., Plaintiff,
                                                                 benefits, representing 25 percent, as potential payment for
                        v.                                       legal fees. Doc. 26-2 at 4. Counsel now requests that the Court
     Kilolo KIJAKAZI, Acting Commissioner                        award him $17,500.00 in attorneys’ fees, amounting to 12.2
          of Social Security, Defendant.                         percent of the past due benefits awarded Plaintiff, as permitted
                                                                 by section 406(b) of the Social Security Act. Doc. 26, passim.
                Case No. 3:22-CV-286-K-BK
                              |
                                                                    II. Applicable Law
                 Signed December 18, 2023
                                                                 Under 42 U.S.C. § 406(b), whenever a court renders a
Attorneys and Law Firms                                          judgment favorable to a Social Security claimant, the court
                                                                 may award the claimant's attorney up to 25 percent of the
Ronald D. Honig, Law Office of Ronald D. Honig, Coppell,         total of the past-due benefits to which the claimant is found
TX, for Plaintiff.                                               to be entitled. Attorneys who successfully represent Social
                                                                 Security benefits claimants in court may receive fees under
Whitney Livengood Thorp, Social Security Administration,         both the EAJA and section 406(b), “but ... must refund
Baltimore, MD, for Defendant.                                    to the claimant the amount of the smaller fee.” Jackson v.
                                                                 Astrue, 705 F.3d 527, 529 (5th Cir. 2013) (quoting Gisbrecht
                                                                 v. Barnhart, 535 U.S. 789, 796 (2002)) (some alterations
Findings, Conclusions and Recommendation of the United           omitted). Section 406(b) requires the court to conduct an
States Magistrate Judge                                          independent review of such contingency fee agreements to
                                                                 ensure that the attorney for the successful claimant has
RENEE HARRIS TOLIVER,                  UNITED        STATES      met their burden of demonstrating that the fee sought is
MAGISTRATE JUDGE                                                 reasonable. Gisbrecht, 535 U.S. at 807.
 *1 Pursuant to 28 U.S.C. § 636(b) and Special Order
                                                                 If the benefits resulting from a contingency fee agreement
3, Plaintiff's Petition to Obtain Approval of a Fee for
                                                                 are large compared to the time counsel spent on the case,
Representing a Social Security Claimant, Doc. 26, is before
                                                                 the fee should be adjusted downward to avoid a windfall for
the undersigned United States magistrate judge for findings
                                                                 counsel. Id. at 808. The Court of Appeals for the Fifth Circuit
and a recommended disposition. As detailed here, the petition
                                                                 has not prescribed an exhaustive list of factors to consider in
should be GRANTED.
                                                                 determining whether a fee award in this context represents
                                                                 a windfall that would warrant a downward adjustment. Jeter
   I. Background                                                 v. Astrue, 622 F.3d 371, 381 (5th Cir. 2010). At the same
In February 2022, Plaintiff filed a complaint seeking reversal   time, it has implicitly approved several factors considered by
of the decision of the Commissioner of Social Security           lower courts, including “risk of loss in the representation,
denying his claims for disability insurance benefits under       experience of the attorney, percentage of the past-due benefits
the Social Security Act. Doc. 1. Upon the recommendation         the fee constitutes, value of the case to a claimant, degree of
of the undersigned magistrate judge, the Court reversed the      difficulty, and whether the client consents to the requested
Commissioner's decision and remanded the case for further        fee.” Id. at 382 (citation omitted).
proceedings. Doc. 16; Doc. 17; Doc. 18. The Court then
awarded Plaintiff's counsel attorneys’ fees in the amount of
                                                                    III. Analysis
$3,936.02 under the Equal Access to Justice Act (“EAJA”).
                                                                  *2 The relevant factors favor approving counsel's petition.
Doc. 25. In September 2023, the Commissioner found
                                                                 First, courts have consistently recognized that there is a
                                                                 substantial risk of loss in civil actions for social security


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benefits. See Cullar v. Saul, No. 7:19-CV-00027-O-BP, No.            Fort Worth was $463.00 in 2012). Nevertheless, the risk
2021 WL 295842, at *2 (N.D. Tex. Jan. 8, 2021) (Ray, J.)             involved in litigating a contingency case of this nature should
(“[T]he Fifth Circuit and district courts in this circuit have       not be overlooked. See Jeter, 622 F.3d at 379-80 (holding that
acknowledged the high risk of loss inherent in Social Security       courts can consider the lodestar calculation as one measure
appeals and the fact that a particular claimant's attorney often     in determining whether the contingency fee is reasonable
is not compensated at all for Social Security work in federal        and not a windfall). Counsel's effective hourly rate is also
court.”) (quoting Hartz v. Astrue, No. 08-4566, 2012 WL              within the range of that previously approved in other social
4471846, at *6 (E.D. La. Sept. 12, 2012)), adopted by 2021           security cases. See, e.g., Eric B. v. Comm'r of Soc. Sec., No.
WL 289270 (N.D. Tex. Jan. 28, 2021). Counsel in this case            3:17-CV-0083-G-BK, 2019 WL 7546622, at *2 (N.D. Tex.
faced just such a risk because Plaintiff had lost at all levels of   Dec. 18, 2019) (Toliver, J.) (finding effective hourly rate of
the administrative proceedings.                                      $937.50 reasonable), adopted by 2020 WL 109856 (N.D. Tex.
                                                                     Jan. 8, 2020); Richardson v. Colvin, No. 4:15-CV-0879-BL,
Additionally, counsel's fee agreement with Plaintiff calls           2018 WL 1324951, *2 (N.D. Tex. Mar. 13, 2018) (Frost,
for an award in counsel's favor of 25 percent of Plaintiff's         J.) (same); Sabourin v. Colvin, No. 3:11-CV-2109-M, 2014
retroactive benefits. Doc. 26-3 at 2-3. There is no suggestion       WL 3949506, at *1-2 (N.D. Tex. Aug. 12, 2014) (Lynn, J.)
that any fraud or overreaching occurred in this matter               (approving de facto hourly rate of $1,245.55).
as Plaintiff signed the fee agreement, and counsel acted
promptly in litigating the case and achieving a significant           *3 Upon consideration of all the relevant factors, the Court
victory for his client. Gisbrecht, 535 U.S. at 807-08 (noting        concludes that counsel's hours expended and proposed hourly
that the reviewing court should consider whether the attorney        rate of $1,070.33 are reasonable.
was responsible for any delay and the size of the award
achieved in relation to the time invested); Jeter, 622 F.3d at
382 (stating that courts may consider the fact that the client         IV. Conclusion
consented to the fee arrangement in assessing whether the fee        For the foregoing reasons, Plaintiff's Petition to Obtain
is reasonable).                                                      Approval of a Fee for Representing a Social Security
                                                                     Claimant, Doc. 26, should be GRANTED, and counsel
Further, counsel brought to bear more than 40 years of               should be awarded attorneys’ fees in the amount of
experience in Social Security disability law, dating back            $17,500.00 pursuant to 42 U.S.C. § 406(b).1
to 1975. Doc. 26 at 13-14; Jeter, 622 F.3d at 382 (noting
that courts will consider attorney experience and skill in           1      Because the Court previously awarded counsel a fee of
determining the reasonableness of the fee). Counsel is a                    $3,936.02 under the EAJA, Doc. 25, he must refund the
member in good standing of many circuit, district, and state                smaller fee award to Plaintiff. Gisbrecht, 535 U.S. at 796.
courts and served as a staff attorney for the Social Security               Counsel represents that he will promptly refund the lesser
Administration for 12 years after graduating from law school.               amount to Plaintiff. Doc. 25 at 12.
Doc. 26 at 13. And counsel provided effective and efficient          SO RECOMMENDED on December 18, 2023.
representation in this case, preparing a 14-page opening brief
with multiple sub-issues as well as a reply brief. Doc. 13; Doc.
15; Jeter, 622 F.3d at 382 (noting that courts may consider
the degree of difficulty of the case in assessing the fee's          Instructions for Service and Notice of Right to Appeal/
reasonableness).                                                     Object

                                                                     A copy of this report and recommendation will be served
Lastly, the size of counsel's requested reward, $17,500.00,
                                                                     on all parties in the manner provided by law. Any party
divided by the 16.35 hours that he expended on the case,
                                                                     who objects to any part of this report and recommendation
leads to an hourly rate of $1,070.33, which is more than
                                                                     must file specific written objections within 14 days after
twice the hourly rate for attorneys of similar experience—
                                                                     being served with a copy. See 28 U.S.C. § 636(b)(1); Fed.
$463.00. Doc. 26 at 11-12 (counsel's hourly billing records);
                                                                     R. Civ. P. 72(b). An objection must identify the finding or
Doc. 26 at 13-15 (counsel's affidavit); Doc. 26-4 at 4-5 (Texas
                                                                     recommendation to which objection is made, state the basis
Lawyer, The State of Rates (Oct. 1, 2012)) (noting that the
                                                                     for the objection, and indicate where in the magistrate judge's
median average billable rate for an equity partner in Dallas/
                                                                     report and recommendation the disputed determination is


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found. An objection that merely incorporates by reference         1417 (5th Cir. 1996), modified by statute on other grounds,
or refers to the briefing before the magistrate judge is not      28 U.S.C. § 636(b)(1) (extending the time to file objections
specific. Failure to file specific written objections will bar    to 14 days).
the aggrieved party from appealing the factual findings and
legal conclusions of the magistrate judge that are accepted or    All Citations
adopted by the district court, except upon grounds of plain
error. See Douglass v. United Servs. Auto. Ass'n, 79 F.3d 1415,   Slip Copy, 2023 WL 9102228

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                                                                                                                   APPENDIX 53
